          Case 2:19-cr-00143-JLR Document 68-2 Filed 12/07/19 Page 1 of 35




 I                                          AFFIDAVIT
 2

 J   STATE OF WASHINGTON                )
 4                                      )      SS

     COL]Nry OF KING                    )
 5

 6          I, Eric Hergert, being first duly swom, depose and state as follows:
 7                      INTRODUCTION AND AGENT BACKGROUND
 8
            1.     I am a Special Agent with lntemal Revenue Service, Criminal Investigation
 9   (trtS-CD, and have been so employed since September 2009. I am presently assigned to
10
     IRS-CI's Westem Area Cyber Crime Unit in the Los Angeles Field Office. My duties
1l   and responsibilities include the investigation ofpossible criminal violations of the
t2 Internal Revenue laws (Title 26, United States Code), the Bank Secrecy Act (Title 31,
t3 United States Code), the Money Laundering Control Act of 1986 (Title 18, United States
t4 Code, Sections 1956 and 1957), and other related offenses.
l5       2. I eamed a Bachelor of Arts degree in accounting fiom the University of
16                          n2002. I   attended the Criminal Investigator Training Program
     Washington, Tacom4
t7   and the IRS Special Agent Basic Training at the Federal Law Enforcement Training
l8   Center (FLETC) where I received detailed taining in conducting f,rnancial investigations.
t9 The training included search and seizure, the lntemal Revenue laws, and IRS procedures
20   and policies in criminal investigations. I have also attended various cybercrime and
2t virtual currency related trainings, including    at   FLETC and otliers. Before being hired by
22   IRS-CI, I was employed as a Revenue Agent for the IRS for approximately five years,
23   performing civil examinations of small businesses and self-employed individuals. As a
24
     Revenue Agent, I received approximately 16 weeks of specialized training in personal,
)<
     parmership, and corporate income tax, as specified in the lntemal Revenue Code.
26          3.     I have conducted and assisted in several investigations involving financial
27   crimes. I have led and participated in the execution of search warrants and have
28
                                                                             UNIED STAIES ATTORMY
                                                                              7OO   STEWART STRTET, SUIIE
      AFFIDAVIT OF SA HERGERT                                                             5220
      usAo#2018R01443                                                         SEArIIS W^sroi(iroN 9t   l0l
                                                                                      (206\ 553-7970
          Case 2:19-cr-00143-JLR Document 68-2 Filed 12/07/19 Page 2 of 35




  I interviewed witnesses and defendants who were involved in, or had knowledge of,
 ,   violations of the Intemal Revenue Code, the Bank Secrecy Act, and the Money
 3   Laundering Control   Act. [n the course of my employment with IRS-CI, I have conducted
 4   and have been involved in investigations of alleged criminal violations, which have

 5   included tax evasion (26 U.S.C. $ 7201), filing a false tax retum (26 U.S.C. $ 7206(1)),

 6   aiding or assisting in the preparation of false tax retums (26 U.S.C. $ 7206(2)),

 7   conspiring to defraud the United States (18 U.S.C. g 371), wire and mail fraud (18 U.S.C.
 8   $$ 1343, 1341), aggravated identity theft (18 U.S.C. $ 1028A), and money laundering (18
 9 U.S.C. $$ 1956,1957), among others.
10          4.     I have led and participated in the execution of federal search warrants and
l1 the consensual    searches of records relating to the concealment of assets and proceeds

l2   derived from fraud. These records included, but were not limited to, email accounts,
13   instant messages, personal telephone books, photographs, bank records, escrow records,
t4 credit card records, tax retums, business books     and records, and computer hardware and

t5 software.
16          5.      I also have specialized training in cryptocurrencies, with   a focus on     Bitcoin
t7   and Ethereum. This has included training into how publically viewable "blockchains"

l8   record cryptocurrency transactions, how to trace funds tfuough these transactions,
t9 attribution techniques   used to   identiff individuals responsible for conducting the
20   transactions, and methods used by individuals to obfirscate the source or their control        of
21   cryptocurrencies. I have used these techniques in prior and ongoing investigations.
an   Additionally, I have conducted cryptocurrency training for others, both intemal to the
23   IRS, as well as for extemal third parties.
24          6.     The facts set forth in this Affidavit are based on my own personal
,< knowledge; knowledge obtained from other individuals during my participation in this
26   investigation, including other law enforcement officers; review of documents and records
27   related to this investigation; communications with others who have personal knowledge

28
                                                                            UNTIED STATES ATTORNEY
                                                                             700 STEWART STRIIET, SurrE
      ATFIDAVIT OF SA HERGERT
                                                                                        s220
     usAo#2o18R01443                                                        sEATrr-E, wAsHEiGroN 98101
                                                                                   (206\ ss3-7970
               Case 2:19-cr-00143-JLR Document 68-2 Filed 12/07/19 Page 3 of 35




     I    ofthe events and circumstances described herein; and information gained through my
 2        training and experience.
     3           7.        This affidavit does not detail each and every fact and circumstance I or
 4        others have leamed during the course of this investigation. Furthermore, the

 5       investigation is ongoing, including the gathering and analysis ofrecords. I have set forth
 6       only the facts that I believe are necessary to establish probable cause to believe that
 7       evidence, fruits and instrumentalities of Mail Fraud, in violation of Title 18, united states

 8       Code, Section 1341, Wire Fraud, in violation of Title 18, United States Code, Section

 9       1343, and Money Laundering, in violation of Title 18, United States Code, Sections

10       1956(a)(1) and,1957, will be found on the SUBJECT EMAIL ACCOUNTS.
11.                             SUMMAR Y OF THE FRAUDULENT SCHEME
12               8.       The target of this investigation is VOLODYMYR         KVASHUK. The
13       investigation has shown that KVASHIIK devised and executed a scheme to defraud
t4 Microsoft Corporation ("Microsoft"). KVASHUK worked for Microsoft                           and was

15       assigned to test the company's online retail sales platform. ln that role, KVASHUK was

16       supposed to make simulated purchases of Microsoft products from the company,s online

t7 store.       The testing system was designed to ensure that no physical products would be

l8 shipped. KVASHUK, however,                   used his testing account to purchase massive amounts            of
l9       "currency stored value," or "CSV," such as digital gift cards. The testing program was
20       not supposed to involve purchases ofCSV, and no mechanislu were in place to prevent
2t the delivery of valuable CSV to the tester. The investigation has shown that KVASHTII!
22       in his role as   a tester, purchased   millions of dollars of CSV, which he then resold on the
23       Internet. KVASHUK used the proceeds of the fraud to purchase, among other things, a
24       $160,000 Tesla car and a $ 1.6 million home in Renton.
25              9.        Email was central to KVASHUK's scheme. The testing prograrr involved
26       the creation and use of email accounts for the sole purpose of making simulated

27       purchases. KVASHUK used a variety of email accounts to make unauthorized purchases
28       of CSV, and also to purchase goods from Microsoft with the stolen CSV.
                                                                                   LINTTED STAIES ATTORNEY
         AFFIDAVIT OF SA HERGERT                                                     700 STEWART STp€Er, SUIIE
                                                                                                 5220
         usAo#2o18R01443
                                                                                   SE^TIL.E,W^$rNcroN 9t   I0   I
                                                                                          (2061s5r-7n0
           Case 2:19-cr-00143-JLR Document 68-2 Filed 12/07/19 Page 4 of 35




  1                   PLACES TO BE SEARCHED AND ITEMS TO BE SEIZED
 2            10.     This affidavit is being submitted in support ofan application for warrants
 3    authorizing the search of the following email accounts (collectively referred to as the
 4    "SI]BJECT EMAIL ACCOUNTS"):
 5                       a. safiri      tlook.c
 6                       b. kvashuk.volod            ail.com
 7                       c. mstest aves      utlook.com:
 8                       d.   mstest sfwe2eauto@outlook.c
 9                            mstest v-vokvas@outlook.com ; and
10                       f. mstest zabeeri2 @outlook.com.
l1           11   .   The information associated with the salirion@out1ook.com,

t2 mstest sfue2eauto@outlook.com. mstest v-vokvas @outlook.com.
t3 mstest     ave       outlook.com, and mtest zabeei2@oullook.com email accounts is stored
t4    at premises owned, maintained, controlled, or operated by         Microsoft Corporation, an e-
l5 mail provider headquartered at 1 Microsoft Way, Redmond, Washington 98052, as
t6 further described in Attachment A, attached hereto and incorporated herein. The
t7 information associated with the kvashuk.volodyrnl'r@smail.com email account is stored
18    at premises owned, maintained controlled, or operated by Google lncorporated, an e-

l9 mail provider headquartered at 1600 Amphitheatre             Parkway, Mountain View, Califomia,
20    94043, as further described in Attachment A-1, attached hereto and incorporated herein.

2t Google and Microsoft are collectively referred to as the "Providers."
22           12.      The information to be searched is described in the following paragraphs

23    and in Attachments B and B-    1   .   This affidavit is made in support of an application for a
24    search warrant under    l8 U.S.C.      g$   2703(a),2703(bxlXA) and 2703(c)(l)(A) to require
25 the Providers to disclose to the govemment copies of the information (including the
26    content of communications) further described at Attachments B and           B-1.    Upon receipt
27    of the information described in Section I of Attachments B and B-1, govemment-
28    authorized persons will review that information to locate the items described in Section              II
                                                                                  [,NMD   STATES ATTORNEY
      AFFIDAVIT OF SA MRGERT                                                       700 srEwART STRrEr, SrrrIE
                                                                                             5220
      USAO#2018R01,143                                                            SE^Tn-E, W^srlDrcrol 981 0l
                                                                                        Q06\ ss3-790
                         Case 2:19-cr-00143-JLR Document 68-2 Filed 12/07/19 Page 5 of 35




     f ll of tfre Attachments. A preservation            request for the relevant account was served on
            il
    Z       f   f
                    Google on February 1, 2019, and this warant seeks all responsive material preserved
            il
    3       |   |
                    pursuant to that request (Google reference numb er 2307 267) .
            II
    4       II                              SUMMARY OF THE IIWESTIGATION
    t                      t3. or r* o
    6
            ll                                                                          om numerous
                  met with counsel for Microsoft, and interviewed Microsoft employees who
      llsources,
    7 ll investigated the CSV theft.

    t ll ui..oroR'.               prosram To I est online Retail Sales

    ,ll                    @OLODYN,IYRKVASHUK'sresume,
         il
l0 llwhich shows that he is a Seattle-based software engineer. According to information
         il
I   I llprovided by Microsoft, KVASHUK was an employee of a Microsoft vendor. As part of
        il
l2 his emnlofment with the vendor, KVASHUK worked for Microsoft from August 26,
        ll
13                     6, until October 1,2017. During rhat time, KVASHUK worked out of Microsoft's
        lJ20t
tl                  oftice and had access to the company's computer network. On Decemb er 1,2017,
        f   f
15                              hired KVASHUK as a full-time employee with an annual salary      of
        llMicrosoft
16
   llapproximately $116,000. KVASHUK worked for Microsoft rmtil June 22, 2018.
17      llil              15.
                  Microsoft sells various products to the general public over the lhtemet via
l8 llits online store. To                make purchases from the Microsoft store, a customer must establish a
        il
19      llMicrosoft store account that is linked to an email address and to one or more payment
        il
20              devices (such as a credit card). As both an employee of an outside vendor, and as a
        ll
2l llMicrosoft               employee, KVASHIIK was a member of Microsoft's Universal Store Team
ZZ              CUSff,       which supports the company's online retail platform, by (among other things)
   ll
23 ll managing a program that tests the online sales               system. The testing program involves
        il
24 ll creating test accounts that are linked to test email accounts created specifically for the
ZS             of the testing program. A tester creates a test email account by using a naming
        lln".n*"
26 ll convention for the account: the name begins with "mstest," followed by an underscore
        I
27 ll andthe user name of the tester. The tester then requests that the UST team 'lrhitelist"
   il
28 llthe account, meaning that purchases made from the account will automatically bypass
                                                                                       TJNITED STATES ATTORNEY
                    AIIIDAVIT   OF SA MRGERT                                             ?00 SrE:wARr STREET, SurrE
                                                                                                    5220
                    usAo#2o1ERol443                                                     SE^rrLE, WASHRIGToN 9El0l
                                                                                              (206) s53-7970
               Case 2:19-cr-00143-JLR Document 68-2 Filed 12/07/19 Page 6 of 35




     I Microsoft's security    and risk protocols, which monitor online pwchases in order to detect
     )    possible fraud. The test accounts are linked to artificial paynent devices (,.Test in

     3    Production"           cards)   -   in effect, phony credit cards   -   that allow the tester to
     4    simulate a purchase without generating an actual charge. once the whitelisted account
     5    was created, the tester would use that account to attempt to make online product

     6    purchases from Microsof! just as an ordinary consumer would. Although in theory each

     7    test account was supposed to be used by the tester who created the account, in reality, the

     8    login and password information for the test accormts was stored in an electronic
  9      document that was accessible to multiple testers.
 10              16.   According to Microsoft, the testing program was designed to test the
 11      company's online sales ofphysical goods only. when a tester used a whitelisted account
t2 to purchase physical goods, the system ensured that no goods were actually delivered.
t3        17 .  According to Mcrosoft, the testing program was not designed for simulated
l4       purchases of electronic currency stored value        ("cSV"), such      as   digital gift cards. Testers
15       were not authorized to use test accounts to make test purchases of CSV. Because
t6 Microsoft did not expect testers to purchase CSV, the system had no safeguards to
17       prevent the delivery of actual, usable CSV to a tester who made a purchase from a

18       whitelisted account. Accordingly, if      a tester
                                                 did purchase CSV, the system would
I9 generate and deliver a valid and usable product ,'key,, that could be ..redeemed,,, meaning
20 that the value of the digital currency would be added to an electronic ..wallet,' linked to a
2t customer account. once redeeme4 the cSV could be used to buy both physical and
22       digital products from the Microsoft store.
23       The Theft Of $10 Million In Microsoft's Disital Currencv
24              lE.    According to information provided by Microsoft, in February of 201g,
25       Microsoft's UST Fraud Investigation Strike Team ("FIST") noticed                 a suspicious increase
26       in the use of CSV to buy subscriptions to Microsoft,s Xbox live gaming system from
27 Microsoft's online store. FIST investigated and discovered that the suspicious                       csv     had
28       originally been purchased fiom Microsoft through two whitelisted test accounts
                                                                                         T,INTIED STATES ATTORMY
         AIFIDAVIT OF SA }IERGERT                                                          7m STEw^rT STBrEr, SuIIE
         usAo#2018R01443                                                                             5?20
                                                                                          SEATr1I, WAsH[.IcIoN 9t   I   O   I
                                                                                                (206) 5s3-79?0
               Case 2:19-cr-00143-JLR Document 68-2 Filed 12/07/19 Page 7 of 35




     I associated with the email accounts mstest       ave stu@outlook.com and

     2    mstest sfiI/e2eauto @outlook.com (the "avestu" and "sfive2eauto" test accounts). The
     3    cSV was then resold on the secondary market,     at a steep discount, via at least   two online
  4 reseller websites, g2a.com and nokeys.com. Customers who purchased the CSV on the
  5       secondary market then redeemed the CSV at Microsoft's online store for Xbox live

  6       subscriptions.
  7            19.         The websites g)a.com and nokeys.com are located at IP addresses

  8      88.198.39.152 urd67.229.64.252, respectively. According to open source research, the
 9       servers hosting these websites are located in Germany and Califomi4 respectively.               All
l0       transmissions of cSV information to be sold through these websites are communication
11       by whe through interstate or foreign corlmerce ifthose transmissions originate in
12       Washington state. The avestu and sfive2eauto test accounts were not established by

t3 KVASHIIK, but rather by other Microsoft employees. However, the usemame and
14       passwords for those and other test accounts were stored on Microsoft's network, giving

l5 KVASHUK              and many other   Microsoft employees access to them. FIST discovered that
l6       the avestu and swfe2eauto test accounts were used to buy a large amount ofCSV
17       between November 2017 and March 20 I 8 . The avestu and swfe2eauto accounts were

18       blocked by Microsoft on or about Mmch 15, 2018. FIST later discovered that a third test
1g       acconnt linked to mstest_zabeeri2@outlook.com (the "zabee42" test account) was also
20 responsible for a suspicious spike in CSV purchases, conducting approximately 166
21       purchases of CSV between March22 and March 23,2018. This account was blocked on

22       or about March 23,2078.
23              20.      The three suspicious test accounts were used to purchase roughly $10

24 million in csv from Microsoft. Microsoft was able to "blacklist" roughly $1.8 million in
25 CSV to prevent it from being redeemed, resulting in a total loss to Microsoft of over $8.2

26       million.
27              21.     Microsoft interviewed the employees who created the three suspicious test
28       accounts and found no evidence that they were involved in the fraudulent cSV purchases.
                                                                                UNMD    STATES ATTORNEY
          AFFIDA\'IT   OF SA HERGERT                                             7OO STEWART STREET,    SL'[E
                                                                                            5220
          usAo#2018R01443
                                                                                 SE^rTLE, WAsHtrrGroN 98   I0   t
                                                                                       1206\ 5s3-7970
                  Case 2:19-cr-00143-JLR Document 68-2 Filed 12/07/19 Page 8 of 35




      I    Evidence Of Kv ashuk's Involvement In The Theft
     )              22.   A variety of evidence shows that KVASHLIK was involved in the CSV
     3     theft from Microsoft.
     4              Kvashuk's Use Of His Own Test Account For Thefi
     5              23.   As an initial matter, KVASHLIK has admitted to Microsoft investigators
     6     using the Microsoft store test account that he created      -   linked to mstest v-
     7     vokvas@o utlook.com (the "vokvas" test account")        -   to make unauthorized purchases.
     8     Microsoft records show that the vokvas test account made purchases (rypically of cSV)
     9     on   April 28, July 10, September 29, October 4, October 7, October         11, and October 22               of
 l0 2017. The amount of cSV             purchased through the vokvas account was relatively small,
 1l       and not all ofthe CSV was redeemed.

 l2                24.    On October 7,2017, the vokvas test account was used to purchase an

l3 electronic 'token" for          a subscription to   Microsoft office. That token was redeemed by a
t4 Microsoft store account linked to the email address admin@searchdom.io (the
l5 "searchdom" account). Microsoft records show that the name on the ..searchdom',
t6 account is "Volo kvashulq" and the address is an apartment complex, 5035 15ft Avenue,
17 Unit 101, in Seattle (the "156 Avenue,, apartments). A copy of KVASHIIK,s resume

18        (provided by Microsoft) lists him as the co-founder and chief rechnology officer                      of
t9 "SearchDom."
20                 25.    According to Microsoft records, KVASHUK's vokvas test accormt was
2t        used to purchase approximately $10,164.99 in       csv   in october 2017. on october22 and
22        24,2017 , approximately $2,500 in CSV obtained by the vokvas test account was
23        redeemed to Microsoft store accounts linked to the email addresses

24         ikima                    (the "pikimaj ado" account) and xidij enizo@axsup.net (the
25        "xidijenizo" account). On October 22 arfi 24, 2017,          the redeemed   CSV in the
26        pikimajado and xidijenizo accounts were used to order three video or'.graphics,, cards
27
28
                                                                                      TJNIIED STATES ATTORNEY
          AFFIDAVIT OF SA HERGERT                                                      700 STEWART STRET, St     IIE
          usAo#2018R01443                                                                             5220
                                                                                       SE   IIrr,   WAsttrncroN 9810l
                                                                                               (206r ss3-7970
                  Case 2:19-cr-00143-JLR Document 68-2 Filed 12/07/19 Page 9 of 35




     I     with   a   total cost of approxim ately $2,024.58 from Microsoft's online store.                   r Microsoft's
     ,)
           records show that the name and address associated with the pikimaj ado and xidijenizo
     3     accounts is "Grigor shikor" at the same 15fi Avenue apartment complex that KVASHUK

 4         lived at, but at Unit 309 (instead of KVASHUK's uni! 101). Microsoft provided the
     5     FedEx tracking numbers for the shipment of these cards. By entering the tracking
 6         numbers into FedEx's website, I was able to determine the video cards were shipped

 7         from Ontario, Califomia to Seattle, Washington on or about October                      22od and      24e    of
 8         2017. Additionally, FedEx's website indicated that at least one of the video cards was
 9         delivered to the recipient address. From my training and experience, I know that FedEx
l0         is a "private or commercial interstate carrier" as that term is used in Title 18, United
ll         States Code, Section 1341.

12                    26.   As part of my investigation, I obtained phone records for 951-397-g122,
l3 which is listed            as   KVASHUK's phone on his resume. The subscriber name on that
t4 account is "Grigod' KVASHUK. Public records searches by Microsoft revealed no
15        "Grigor shikor" in Washington.
l6                    27.   According to Microsoft records, approximately $600 of the CSV purchased
17        by the vokvas account was redeemed to a Microsoft store account linked to the email
18        address safirion@outlook.com (the "safirion" account). According to Microsoft, the

19        name on the account is "volo          kv".   The current address was on 7ft Avenue in Seattle, and
20        the former address was KVASHI-IK's apartment at the 15t Avenue complex.
21                 28.      Microsoft investigators interviewed KVASHUK on May l0 and May l8 of
22        2018. Although no law enforcement oflicer was at those interviews, I have listened to
23        recordings ofthe interviews. The interviews were not completely recorded because of a
24        technical problenr, but I have also read summaries of the interviews and spoken with
25
26
27        I Microsoft records show attempts
                                            to access the vokvas test account from IP addresses located in Russian and Japan
          on Oclobet 22,2017. These may have been attempts by KVASHTX to disguise his IP address, although that has
28        not been confirmed.
                                                                                                  UNTIM STATES ATTORNEY
            AFFIDAVIT OF SA HERGERT                                                                700 STEWART STREET, SurIE
           usAo#2018R0t443                                                                                     5220
                                                                                                  SE^TTL.B   W^sr$rcroN   981   0l
                                                                                                        QO6) 5s3-7970
                  Case 2:19-cr-00143-JLR Document 68-2 Filed 12/07/19 Page 10 of 35




      I Andy cookson of Microsoft, who was present              at both   interviews. The interviewers asked
     2       KVASHTIK about the purchases made with the vokvas test account.
     J                  29.    KVASHUK admitted that he had created the vokvas account. He also
     4       admifted to making some unauthorized purchases from the account. KVASHUK
     5       suggested that there was a lack ofguidance from his superiors about what could and

     6       could not be purchased via a test account, and claimed to have only been told that test
     7       accounts should not be used to purchase subscriptions. KVASHUK claimed that he

     8       believed it was permissible to use test accounts to buy cSV because it was not ..real',

     9 money.
 t0                  30.      KVASHUK admitted to Microsoft investigators that he used his test
 l1          accouht to purchase       cSV. He admitted that the "safirion"   account was his personal
 t2 account,              and that he used stolen CSV to buy movies from the     Microsoft store.
13           KVASHLTK admitted that he had tried to buy a video card, but claimed that it had never
14           arrived.
l5                   3l   .   The investigators asked KVASHUK about the video cards purchased (using
l6 csV obtained by the vokvas test account) in the name of "Grigor shikor', at Unit 309 of
t7 the 15e Avenue complex. KVASHIIK denied purchasing those cards. when asked if he
l8 knew "Grigor shikor," KVASHUK initially                   said, ,.it,s complicated,,, but then denied
t9 knowing him.2 KVASHUK admitted that he lived                     at the 156 Avenue complex, but
20       denied receiving the cards.

2t                   32.      With respect to the Office subscription purchased by the searchdom
22       account (using a token obtained by the vokvas test account),          KVASHIIK       said that he and
25       another person were business partners in searchDom. KVASHITK said that he did not

24       remember this event and suggested that he might have made a mistake.
25
26
27
28       2
             This part ofthe interview was not recorded.
                                                                                      LINMD STAIES ATTORNEY
             AFFIDAVIT OF SA HERGERT                                                   700 STEwAer STRrEr, SurE
             usAo#2o18R01443                                                                      5220
                                                                                      SEArrr-E, WAsrslGToN 9t I 0l
                                                                                             (206) s53-7970
            Case 2:19-cr-00143-JLR Document 68-2 Filed 12/07/19 Page 11 of 35




               Evidence Linking KVASHUK To CSV Thefis Through Other Test Accounts.

 2             33.      The vast majority of the $10 million in stolen CSV was obtained through

 J    the avestu, sfire2eauto, and zabeeq2 test accounts. As noted, although these accounts
 4 were created by other testers, KVASHUK would have had access to the login information
 5    necessary to access these accounts. Based on information provided by Microsoft, it

 6    appears that these accounts were used to make unauthorized CSV purchases                            from
 7 approximately November 26,2017, through March23,20l8.3 As best as can be
 8    determined from the available information, it appears that CSV was resold (most likely at
 9   a steep discount)      through online resellers, to customers who used the CSV to make
10   purchases from Microsoft's online store.

l1            34.      Although KVASHUK admitted to only making very limited purchases of
12   CSV from his test account, the investigation has shown probable cause to believe that
13   KVASHUK          used the avestu, sfive2eauto, and, zabee42 accounts to make unauthorized

t4 CSV purchases. Some of the evidence comes in the form of Intemet Protocol ("IP")
l5   address data.     An IP address is a numerical label assigned to each device that is connected
l6 to a computer network that accesses the Intemet. In general, Microsoft's online sales
t7 platform records the IP addresses used to access the company's website. However,
l8   because the test accounts bypassed several safeguards, IP addresses were only captured

19   on approximately 489 of I,554 transactions.

20            35.      Microsoft records show that between December 29,2017 and March 23,
2l   2018, at least $2.4 million ofCSV was purchased using the avestu, sfive2eauto, and

22   zabee42 accounts in over 400 transactions from devices using at least 34 different IP

23   addresses beginning with173.244.44, including IP addresses 173.2M.44.19 (February

24   2018 and March 2018), 173.244.44.37 @ecember 2017 and March 2018),173.244.44.58

25   (February20l8andMarch20l8),and 173.244.44.89 (January2018,February20l8,and
26
27
     I KVASHT K was not employed at Microsoff for
                                                      the early pan ofthis time period, but could have used any lntemet-
28   enabled device to access and log into the accomts.
                                                                                             UNITED STATES ATIORNEY
      AFFIDAVIT OF SA      HERGERT                                                            700 SrE:wARr SrREEr,   SrrrE
      usAo#2or8Rol443                                                                        SE^irr4
                                                                                                         s72o
                                                                                                       WAsru.lGToN 9&01
                                                                                                    (206\ s53-7910
                  Case 2:19-cr-00143-JLR Document 68-2 Filed 12/07/19 Page 12 of 35




     I March 2018). According to Microsoft, numerous Microsoft employees have logged in
     2       via these addresses, leading them to believe the IP addresses are publically accessible.
     3               36.     The investigation has shown that KVASHUK used a 173.2M.44 Ip address
     4 to access a Microsoft store account linked to his personal email address,
     5       kvashuk.volodymyr@gmail.com (the "kvashuk" account)a at least nine times in
     6       December 20 1 7, including IP addresses         17   3.244.44.19, l7 3.244.4 4.37, and
     7       173.244.44.58. He also logged into his Coinbase cryptocurrency accormt using Ip

     8       address 173.244.44.89 on December            2,2017. However, no incidents have been identified
 9 where KVASHUK used a 173.244.44 IP address and a test account used the same Ip
l0           address on the same day to purchase CSV.

ll                   37.     Records obtained through the course of the investigation indicate that Ip
t2 addresses 173.244.44.19, 173.244.44.37,173.244.44.58,and173.244.44.89areassigned
l3 to the company London Trust Media, lnc. This company operates a virtual private
t4 network (VPN) service that specializes in anonymity online through the website
15           www.privat eintemetaccess.com         .   While I am continuing to investigate the 173.244.44 IP
16           addresses,   I believe that all of the 173.244.44IP addresses associated to this investigation
t7       are controlled by London Trust           Medi4 tnc.
t8                  38.       Based on my training and experience, KVASHUK may have believed that

re] by using a VPN service specializing in online anonymity to commit the fraud he could
20       disguise his involvement in the crimes.

2l                  39.     Another IP address, 4.35.246.1g,was also used to access the avestu and
22       sfive2eauto test accormts         atlext 24 times for purchases of over $ 131,000 in CSV in
23       connection with the fraud. Although this IP address is still under investigation, it was
24       also used to access three Microsoft store accounts linked to               KVASHUK. It was used at
25       least 54 times between october 24,2017 and November 24,201i to access the pikimajdo
26       and    xidijenizo accounts (the accounts used to order the graphics cards delivered to
27
28       a
             The kvashuk account is listed as KVASHUK's personal account on his resume.
                                                                                          UMIED STATES ATTORNEY
             AFFIDAVIT OF SA }IERGERT                                                      7OO STE:WART   STREEI. SUrrE
             usAo#2018R01443                                                                          5?20
                                                                                           SE^mr, WAsrsrcroN      98101
                                                                                                (206) 5s3_1n0
                      Case 2:19-cr-00143-JLR Document 68-2 Filed 12/07/19 Page 13 of 35




     f f "C.igo.y shikor"             at   KVASHUK's apartment complex) and used at least 2l times on
             I
             f



    2 lf November 24,2017 to access the the vokvas test account (the test account created by
    r llrvasnurr.
    a    llI              40.      Athird IP address , 50.243.108.211, was used five times on December 12,
    5                   to purchase approximately $39,500 of CSV using the sfue2eauto test account.                        It
         ll20l7,
    6 llwas also used 37 times on October 22, 2017 to access the vokvas, and xidijenizo
    z ll         ,"".,,,n..
    t    llil            41.      The fact that all of the above IP addresses are linked to both KVASHUK
    9ll and the test accounts              used to commit the fraud strongly suggests      KVASHUK's
         I
 l0 ll involvement in the crime.
         il
I   I    ll             42.       KVASHIIK is also linked to the avestu, and sire2eauto through                a
         II
12               technoloef known as "Fuzzy Device" identification. When            a person uses a        particular
        ll
tf      ll aevice to access          Microsoft's online store, that device leaves   a   digital trail known as a
        il
tn "Fuzzf Device" identifier. According to Microsoft, although it is theoretically possible
        ll
tS llfor two devices to have the same Fuzzy Device ID, it is very unlikely. As a resulq
        II
                                                                                                                    if
l6 ll multiple logins               are made from the same Fuzzy Device     ID, there is a strong inference that
f   Z               .r-"      device (a particular computer, cell phone, etc.) was used to make all of those
        lltf,.
lS      ff       logins. Between October 22,2017 and November 26,2017, Microsoft's records show
fS      lltn. ,u-" fuzzy Device ID for              logins to accounts believed to be associated with
        II
20      ll KVASHUK (the              vokvas, xidijenizo, and pikimajado accounts) as well as at least some
        I
21 ll logins to the accounts that were primarily used to steal CSV (avestu and sfire2eauto).
   il
22 ll Similmly, Microsoft records show that the user who logged into all of those accounts
   il
Z3 was, on at least some occasions, running the same version of the Linux operating system
        ll
Zl ll aA the same                 outdated venion of the Mozilla Firefox browser        - firther   evidence that a
        il
25 ll single device Iogged into all of those accounts.
,rll                    4.        Based on my training and experience, I know that term ,.Device ID,, is a
        I
ZZ           industry term for an identifier for an electronic device. Some devices have a
   llSeneric
28 llunique identifier specifically labeled as a "Device ID" by a hardware manufacturer.
                                                                                              UNTIED STA'TES ATIORNEY
                 AFFIDAVIT OF SA HERGERT                                                       700 SrEw^tT SrREEr, Sum
                                                                                                             5220
                 usAo#2ot 8R01443                                                             SE   {TTLE, WASre{cToN 98   I0   I
                                                                                                       (206r ss3-1970
                     Case 2:19-cr-00143-JLR Document 68-2 Filed 12/07/19 Page 14 of 35




     I       I
                 When one hardware manufactwer, website, govemment agency, or any other company
     2 refers to the identification of, collection of, or use ofa "Device ID", they are all generally
     J           talking about a different identifier or mechanism for generating                   a   Device ID that is
     4           unique to that manufacturer or other entity. Device IDs are generally used to identifu
     5           multiple transactions conducted by the same device.
 6                       44.    I also know that Device IDs are often created by collecting                        a   very large
 7               collection ofnot-so-unique browser and system components that a web-browser allows a
 8            website to    vie    collect, such as operating system, web-browser, screen resolution, and
 9 many other settings. If any of the settings used to calculate the Device ID change, the
l0 Device ID will                 change. An individual with knowledge of Device IDs could disguise the
u             fact that they are conducting multiple transactions from the same device by changing
t2 some of               these settings.    Additionally, Device IDs would change if the individual used
l3           more than one device, or used virtual machines5 to simulate the use of more than one

t4 device.
t5                       45.   In total, Microsoft captured Fuzzy Device ID information on approximately
l6           223 of the 1,554 purchases ofCSV using the avestu, sfire2aut o, and zabeerj2 accounts.5

17           over the course of the scheme,           a   total of 14 different Fuzzy Device IDs were captured on
r8 these 223 tansactions. Most of the Fuzzy Device IDs were only used to purchase the
         ]




l9 cSV for one day. This could                      be indicative of using multiple devices, or the use of virtual
20           machines. The first Fuzzf Device ID listed on the chart below
                                                                                                -       bb92c4$4-876b4d87-
2t           adca-943b90a2d98e -- was used to access the vokvas, xidijenizo, and pikimajado

22           accounts between October 22 and 24 , 2017 , and was also used access the avestu and

23           sfue2eauto test accounts to make cSV purchases on November                          2   6,2017. This strongly


25

26           ' A virtual machine is simulatcd computer thal runs its own operating system that runs like an application on another
             compuler. Th€ end user has a similar experience on a vinual machine as they would have ifthJoperating system
             were installed on its own device. Several virtual machines can be installed on a single computer, and ca;created in
27           a short period of time.
             6
               Fuzzy Device ID information u/as only caplured for transactions conduct€d through rhe avestu and slwe2eauto
28           accounts.
                                                                                                         UNITED STATES ATTORNEY
                 AFFIDAVIT OF SA HERGERT                                                                  7OO   STEW^RT STREEI.   SUm
                 usAo#2o18R01443                                                                                       5220
                                                                                                          SEATTL4 W^sHtrlcroN 98   I0   |
                                                                                                                (206) ss3-'ty10
                Case 2:19-cr-00143-JLR Document 68-2 Filed 12/07/19 Page 15 of 35




     I   suggests that the same device was used to access both accounts known to be linked to
 ) KVASHUK as well                     as the test accounts used       to commit the fraud.
 3

 4                                 Device ID                              Identilied              Date Range
                                                                         Occurrences
 5
            bb92c48{-876t>4d87-adca-943b90a2d98e                              6                   1112612017
 6
            58b0.1a06-d52c-,181 b-9050-l,td I f5c64aab                       20           12/2t2017      -    12/)3/2017
 7
            Jbab2d39-29f9-4332-bc9G312la57d99cd                                I                   121312017
 8          c23 l3cdc-a005-.12 I      b-9fa9-l 59d2adbdf53                                         )2t7 t2011

 9          a   a29 e ee2 -3f 6d - d5b.l- 9c0 I -cfa32 0b962 b   I           1I           l2l9t20t7      -    12fi2t20t7
            .15501 0cd-e5     l3-44c1 -8fcO-f4495b0d7453                      6                   t?/10t2011
10
            6d2a60l 1-99b$48be-b00c-130d50b26272                             l2                   12n4n017
tl
            dl   17 e690-0627 - 162 4 -9   l2l -3 a63 6 157 bf 6d            l9                   12/15/2017
t2
            ec76885c-671 8-4857-8cd9-8ea3fl 1ed30e                           t2                   12/16t2017
13          84925e6b-035f-4138-9b41-b2dbbbl3efce                             IO                   12/11/2017
t4          Jb0d8c07-365G4c4c-b93&8441 c8c437 I 6                            t7          121   t9l20t7    -   t2t20t2017

15          2   lc35l 23-ccef-47,1f-ade4-8fd96984975d                        79           't2/22/201'7 1t4/2018
            486 e5 a23 -b 428 - 47 8c-99ed-7c25c8d76b2 5                     75                    yt2t20t8
l6                                                                            ,,
            0   42 4b9 4c-9 e86 - 4 abd-a9f4-bfce92f962a         I                                 1/20t2018
17

l8
                   Evidence Of Unexplained Wealth
l9
                   46.      Financial records show that KVASHIIK had a large amount of unexplained
20
         income during the period of the CSV thefts. According to Microsoft, KVASHIIK's
2t
         annual salary was $1 16,000. I have reviewed records for a checking account that
22
         KVASHUK had at Wells Fargo bank, ending in -5789. The earliest daily balance shown
23
         on the records was $429.56 on July 29, 201                  6. The balance on the account remained
24
         under $20,000 until late November of 2017, when large:rmounts of money from a
25
         cryptocurrency account in KVASHUK's name at Coinbase.com, began to flow into the -
26
         5789 account. On November 30,2017, over $14,000 was transferred to the -5789
27
         account fiom Coinbase.com. On December 11,2017, over $4,600 was transferred Iiom
28
                                                                                               (AIIED  STATES ATTORNEY
         AFFIDAVIT OF SA HERGERT                                                                700 STEW^RT STREET, Sum
                                                                                                              5220
         usAo#20t8R01443                                                                       SEATTT.E, W^SHNGToN 9E I O I
                                                                                                        (2M) 553-7970
              Case 2:19-cr-00143-JLR Document 68-2 Filed 12/07/19 Page 16 of 35




          Coinbase.com to the -5789 account. On December 21,2017, there was a transfer of over

     2    $29,000 from Coinbase.com to the -5789 account.
     J            47.      The suspicious transfers escalated dramatically in early 2018. For example,

 4       on January 306, February 2od, and February 66 of2018, there were transfers from

 5       Coinbase of over $98,000,       $I   77,000 and $ 134,000, respectively. On a single day       -
 6       March 2, 2018      -   over $500,000 was tansferred from Coinbase to the -5789 account.
 7       Over   $ 1.4   million was transferred in total in March 2018, followed by over $935,000 in
 8       April.
 9                48.     All told, over $2.8 million was transferred from Coinbase to the -5789
l0       account between November 2017 andMay 2018. The approximate timeframe of the

ll       fraud was November 20 1 7 through March 20 I 8 . Given these timeframes, and based on
t2 my training and experience, it appears that KVASHLIK had converted the proceeds of the
l3 fraud into cryptocurrency,           and then gradually converted the cryptocurrency in fiat

t4 crrrency         and transferring the proceeds to his Wells Fargo account.

l5                49.     Furthermore, in order to determine the source of the cryptocurrency
16       "bitcoin" in the Coinbase accormt, I have examined the bitcoin blockchain,           a   public
t7 ledger of bitcoin transactions. I determined that the vast majoriry ofthe bitcoin deposited
l8       into the Coinbase accormt originated from chipmixer.com. Chipmixer.com is a bitcoin
l9 "mixing"         service which appears to be located in Germany. A bitcoin mixing service

20       mixes potentially identifiable bitcoin with others, with the intent to obscure and conceal
21       the original source of the bitcoin. Based on my training and experience, the use            of
22       chipmixer.com is further evidence of an attempt to conceal proceeds of the fraud. As part
23       of my investigation, I analyzed the value of bitcoin (in United States dollars) received
24       into KVASHUK's Coinbase account and compared it to the purchase and redemptions                      of
25       CSV. I was able to determine that, while significantly lower, the value of the bitcoin
26       deposits to KVASHUK's Coinbase account generally coincided with the value of the
)1 purchased and redeemed CSV. The reason for the lower value could include KVASHUK
28
                                                                                   TJNITED STATES ATTORNEY
         AFFIDAVIT OF SA TIERCERT                                                    700 STEw^i'r STRxE:r, SurIE
                                                                                                5220
         USAO#2018R01,143
                                                                                    SEATTIj, W^sHTNGroN 9t I O I
                                                                                           (206) 553-790
              Case 2:19-cr-00143-JLR Document 68-2 Filed 12/07/19 Page 17 of 35




 I       selling the CSV at a discount, bitcoin's general decline in value during early 2018, or that
 2 not all of the proceeds from this scheme have been identified.
 3                $9,000,000.00

 4                $E,000,000.00

                  $7,000,000.00
 5
                  $6,000,000.00
 6                $5,000,000.00

 7                $4,000,000.00
                  $3,000,000.00
 8
                  $2,000,000.00
 9                                                                       .'/
                  $1,000,000.00

l0                              $-

1l
t2                        \\
                            ,--t-
                       ......
                                         .t"t--       \\
                                                           -"t.
                                                       .s\\'
                                                                      -"'--    d,r.'-.   -c
                                 CSV Purchases USD   Balance            .CSV Redemptions USD Balance
l3                                                                -
                                 Bitcoin Deposits USD Balance
t4
l5              50. - KVASHUK has used his unexplained wealth to make significant purchases.
l6 ln March of 2018, KVASHUK                      paid roughly $162,000 for a Tesla vehicle. In May            of
t7 2018, KVASHUK bought                   a lakeside home         in Renton forroughly S1.675 million, and
     apparently paid cash.7
18

t9
20           PROBABLE CAUSE REGARDING THE SUBJECT EMAIL A CCOI]NTS

2t              51.     As set forth above, there is probable cause to believe that evidence ofthe

22   offenses of mail fraud, wire fraud and money laundering may be found in the SUBJECT

23   EMAIL ACCOUNTS. The fraudulent scheme, by its nature, relied heavily upon email.

24   With the excepti on of the kvashuk.volodymyr@smail.com acc ount, all of the SUBJECT

25   EMAIL ACCOUNTS were                    used to purchase or redeem stolen digital currency            or

26
     property. There is probable cause to search the kvashuk.volo                                      .com for a

27
28   7
         In bank account records, KVASHUK claims that the source ofhis wealth was family money
                                                                                          UNIED STATES ATIORNEY
         AFFIDAVIT OF SA HERGERT                                                           ?M STEW^RT STREET, Sum
                                                                                                       5220
         usAor2ol8R0l443                                                                    SE^rTlx,W srfiGroN   98 ! 0l
                                                                                                  (2M)s$-7n0
               Case 2:19-cr-00143-JLR Document 68-2 Filed 12/07/19 Page 18 of 35




      I    variety ofreasons. That account was accessed via Ip addresses starting with 173.244.44,
     2 which were also used primarily to commit the fraud" and thus any evidence linking
     3     KVASHUK to that account also links him to the fraud. Furthermore, we have only
     4     limited evidence as to how KVASHUK arranged to resell the             csv   via online resellers,
     5     what resellers he used, how the proceeds flowed back to him, and how he disposed                    of
     6     those proceeds. From my training and experience, I know that KVASHUK may have

     7     used email accounts, including the kvash        .vol                  il.com accoun t, to arrange
     8     for the resale   ofcsv    and the transfer ofproceeds, as   well   as to otherwise carry out the

  9        scheme.

 l0               52-       Additionally, I know that coinbase, and many other virtual currency related
 ll        entities often communicate with their customers via email. These communications may
t2 be evidence of financial transactions conducted using the proceeds of the fraud, and
l3 therefore be evidence ofmoney laundering. Coinbase records specifically show
t4 communication with the kv                 uk.volod             l.com email address.
l5                     BACKG ROUND REG ARDING THE P ROVIDERS'S ERVICES
16                53.       In my training and experience, I have leamed that the providers provides a
17        variety of on-line services, including electronic mail (..e-mail,') access, to the general
l8 public.           The Providers allow subscribers to obtain e-mail accounts at the domain names

l9        set forth in this   affidavit and the attachments.
20                54.       Subscribers obtain an account by registering with the providers. When

2t doing         so, e-mail providers like the Providers ask the subscriber to provide certain

22        personal identiffing information. This information can include the subscriber's               full
23        name, physical address, telephone numbers and other identifiers, alternative e-mail

24        addresses,   and for paying subscribers, means and source ofpa5rment (including any
25        credit or bank account number). In my training and experience, such information may
26        constitute evidence of the crimes under investigation because the information can be used
27        to identis the account's user or users, and to help establish who has dominion and
28        control over the account.
                                                                                       UNIED   STATES ATTORNEY
           AFFIDAVIT OF SA HERGERT                                                      700 STEW^RT STREET, SuIrE
           usAo#2o18R0r 443                                                                        5220
                                                                                       SE^rnl'   WASIGIGToN 98   I   0l
                                                                                             (206)553-7970
              Case 2:19-cr-00143-JLR Document 68-2 Filed 12/07/19 Page 19 of 35




     1           55.    E-mail providers typically retain certain transactional information about the
 2        creation and use of each account on their systems. This information can include the date
 )        on which the account was created the length ofservice, records of log-in (i.e., session)

 4       times and durations, the types of service utilized, the status ofthe account (including
 5       whether the account is inactive or closed), the methods used to connect to the account
 6       (such as logging into the account via a Provider's website), and other log files that reflect

 7       usage   ofthe account. ln addition, e-mail providers often have records ofthe Intemet
 8       Protocol address ("IP address") used to register the account and the IP addresses

 9       associated with particular logins to the account. Because every device that connects to

l0       the Intemet must use an IP address, IP address information can help to identiff which

ll       computers or other devices were used to access the e-mail accoun! which can help
t2 establish the individual or individuals who had dominion and control over the account.
l3               56.    In general, an e-mail that is sent to the Providers' subscribers is stored in
t4 the subscribey's "mail box" on the Providers' servers until the subscriber deletes the e-
l5 mail. If       the subscriber does not delete the message, the message can remain on the

t6 Providers' servers indefinitely. Even ifthe subscriber deletes the e-mail, it may continue
t7 to be available on the Providers' seryers for a certain period of time.
t8               57.    When the subscriber sends an e-mail, it is initiated at the user's computer,
t9 transferred via the Intemet to the Providers' servers,          and then tansmitted to its end

20       destination. The Providers often maintains a copy of the e-mail sent. Unless the sender
21       of the e-mail specifically deletes the e-mail from the Providen' server, the e-mail can
22       remain on the system indefinitely. Even if the sender deletes the e-mail, it may continue
23       to be available on the Providers' servers for a certain period oftime.
24               58.   A   sent or received e-mail    typically includes the content of the message,
25       source and destination addresses, the date and time at which the e-mail was sent, and the

26       size and length of the e-mail.   If   an e-mail user writes a draft message but does not send

27       it, that message may also be saved by the Providers but may not include all of these
28       categories of data.
                                                                                  UNITED STATES ATTORNEY
         AFFIDAVIT OF SA HERGERT                                                   7m STEv^RT STRrEr, Sum
                                                                                                  52?0
         usAo#2o18R01443
                                                                                   SE   Tflr,   W^sHD{GroN 9t   I0l
                                                                                           (206) 553,7970
               Case 2:19-cr-00143-JLR Document 68-2 Filed 12/07/19 Page 20 of 35




     I            59.    An Outlook.com subscriber can also store files, including address books,
     a    contact lists, calendar data" photographs, and other files, on servers maintained and/or
     J    owned by Microsoft. I know based on my training and experience and my review                  of
     4 Microsoft Outlook.com's services, that Outlook.com provides users with access to a
     5    "People" file in which they may store contact information including names, addresses, e-
     6    mail address, telephone numbers, birthdates, job titles, and other notes. outlook.com also
 7 provides users access to a "calendar" file that may include notes of events and schedules.
 8       In addition, Outlook.com provides users with access to a "OneDrive" which provides
 9       users   with cloud based storage of files including photographs and other documents such
10       as   word processing documents or spreadsheets. outlook.com allows users to           share    their
ll       OneDrive content with othen or the public depending on the settings selected by the
t2 account holder. In my raining and experience, evidence of who was using an e-mail
l3       account may be found in address books, calendars, photographs and other documents

t4 stored in relation to the account.
l5               60.    A subscriber to a Google Gmail account can also store frles, including
l6       address books, contact lists, calendar data" photographs and other files, on seryers

17       maintained and/or owned by Google. For example, Google offers users a calendar
lEl      service that users may utilize to organize their schedule and share events with others.

19       Google also offers users a service called Google Drive that may be used to store data and
20       documents. The Google Drive service may be used to store documents including
21       spreadsheets, written documents (such as   word or word Perfect) and other documents
22       that could be used to manage a website. Google Drive allows users to share their
23       documents with others or the public depending on the settings selected by the account
24       holder. Google also provides its users with   access to the   photo storage service "picasa."
25       Picasa can be used to create photo albums, store photographs, and share photographs with

26       others. Another Google service called "You Tube" allows users to view, store and share
27       videos. Google also provides   a service called "Google   Analytics. Google Anall'tics is a
28       Google service that monitors website traffic and provides subscribers with data relating to
                                                                                 UNITED STATES ATTORNEY
         AIFIDAVIT OF SA }IERGERT                                                  700 SaEWART STRrEr, SunE
         usAo#2o18R01443                                                                      5220
                                                                                  SEAr-rtl, WASHNaToN 9E101
                                                                                        (2M) s53-?970
                    Case 2:19-cr-00143-JLR Document 68-2 Filed 12/07/19 Page 21 of 35




     t lllowmuctr trafhc is visiting the subscriber's website, which sections ofthe subscriber's
      il
    2 llwebsite users are visiting, how long users are staying on particular sections of the site,
    :               tf,. geographical source of users visiting the website, among other things.
             ll*a
    4        ll         61.
                      The additional services provided by Google and Microsoft, referenced in
      il
    5 llthe paragraphs above, are relevant to establish who had dominion or control over the

    O        llu*iou,   email accounts. Furthermore, the content      -   such as calendar entries, stored
          il
    7 ll documents, spreadsheets, and other material           -   may be evidence ofthe actual fraud, which
          I
    8 Il was data-intensive and would have required the transmission and storage of various types

 ,ll"ro*,
,O ll     62.                 In some cases, e-mail account users will communicate directly with an e-
   I
1l ll mail          service provider about issues relating to the account, such as technical problems,
         il
l2 ll billing inquiries, or complaints from other users. E-mail providers typically retain
         I
l3 llrecords about such communications, including records of contacts between the user and
         I
I        ll
               the Rrovider's support services, as well records of any actions taken by the provider or

l5 lluser           as a result   of the commtmications. In my training and experience, such information
         il
16
        ll
               may constitute evidence of the crimes under investigation because the information can be
l7      ll used     to identifu the account's user or users.
        I
18      II                          PAST EFFORTS TO OBTAIN THIS EYIDENCE
   I
19 ll                 63.     This evidence has not been previously available to me or other agents, apart
        II
20 ll from subscriber information records and non-content information obtained via an 18
        I
21 ll U.S.C. $ 2703(d) order.
,rll                                    PRorocol FoR soRrrNG                sETzABLE
:z.ll   il
                                    ,rr                                                   on
24ll                  64.
                   In order to ensure that agents are limited in their search only to the e-mail
   il
25 ll account specifically sought (and any attachments, stored instant messages, stored voice
        II
26            messages, and photographs associated therewith); in order to protect the privacy interests
        ll
27 ll of other third parties who have accounts at the Providers; and in order to minimize
ZS
     ll
              air*ption, to normal     business operations of the Providers; this application seeks
                                                                                         I,INITED STAIES ATTORNEY
               AFFIDAVIT OF SA HERGERT                                                     700   SrEwAiT SrREEr, Sum
                                                                                                     5220
               usAo#2o18R01443
                                                                                          SEAITLE, WASHB.IGToN 98   IO   I
                                                                                                (206) ss3-7970
            Case 2:19-cr-00143-JLR Document 68-2 Filed 12/07/19 Page 22 of 35




     I authorization to permit agents and employees ofthe Providers to assist in the execution of
  2 the warrants, as follows: (See: Title 18, United States Code, Section 2703(9)).
  J            65.     The search warrants    will   be presented to the Providers,   with direction that
  4 they identiff and isolate the e-mail accounts and associated records described in Section                   I
  5    of Attachments B and B-1.
  6            66.     The Providers    will also be directed to create an exact duplicate in electronic
  7    form ofthe e-mail accounts and records specified in Section I ofAttachments B and B-1,
  8    including an exact duplicate ofthe content ofall e-mail messages stored in the specified
 9     e-mail account.
10            67.      The Providers shall then provide exact digital copies of the content ofthe

l1     subject e-mail accounts, as well as all other records associated with the account, to me, or
t2 to any authorized federal law enforcement agent assigned to this case. Once the digital
13     copies have been received from the Providers, that copy        will, in tum, be forensically
t4 imaged and only that image will          be reviewed and analyzed to     identiff communications
l5     and other data subject to seizure punuant to Section       II of Attachments B and B-1. The
t6 original digital copies will be sealed and maintained to establish authenticity, if
t7     necessary.

l8            68.     I, and/or other agents of IRS-CI, the United States Secret Service (USSS),
t9 or other federal law enforcement         agency assigned to this case   will thereafter review the
20     forensic images, and identify from among that content those items that come within the
2t items identified in Section tr to Attachments B and B-1, for seizure. I, and/or other
22 agents identified above will then copy those items identified for seizure to separate media
23     for future use in the investigation and prosecution. The forensic copy ofthe complete
24     content ofthe e-mail accounts will also then be sealed and retained by IRS-CI and/or
25     USSS, and    will not   be unsealed absent authorization of a Magistrate Judge of this Court,

26     except for the purpose ofduplication of the entire image in order to provide it, as

27     discovery, to a charged defendant.
28
                                                                                 T'NTIED STATES ATTORNEY
       AFFIDAVIT OF SA HERGERT                                                    700 STEw^r.T SrREEr, SrrrE
                                                                                              5220
       usAo#2018R01443
                                                                                  SE   :rr, W^sHD,rGToN 98101
                                                                                          (206) ss3-7970
                            Case 2:19-cr-00143-JLR Document 68-2 Filed 12/07/19 Page 23 of 35




         I        llil'        69.   Analyzing the data contained in the forensic image may require special
     2 lltechnical skills, equipment, and software. It could also be very time-consuming.
       il
     3 SearchinS by keyrvords, for example, can yield thousands of ,,hits,,,each of which must
       ll
     +        be reviewed in context by the examiner to determine whether the data is within ttle
              llthen
     5 ll scope of the warrant. Merely finding a relevant "hif' does not end the review process.
       il
     6               used originally need to be modified continuously, based on interim results.
              llKervords
     7
              llcertain file formats, moreover, do not lend themselves to keyword searches, as keyrvords
     t        ll sea."t text, and many cornmon electronic mail, database, and spreadsheet applications,
    il
  e ll lwtrictr may be attached to e-mail,) do not store data as searchable text. The data is
    il
 10 saved, instead, in proprietary non-text format. And, as the volume of storage allotted by
             ll
 I   I              service providers increases, the time it takes to properly analyze recovered data increases,
             [l
 l2          ll as        well. Consistent with the foregoing, searching the recovered data for the information
             il
13          to seizure pursuant to this warrant may require                    a range   ofdata analysis techniques
  llsubject
ta ana may take weeks or even months.
             ll
,5           llil             70.    Based upon my experience and training, and the experience and training               of
16                 other aeents with whom I have communicated, it is necessary to review and seize all
             ll
l7                        mails, chat logs and documents, that identifu any users of the subject account
             llelectronic
f    t       llana any electronic mails sent or received in temporal proximity to incriminating e-mails
             il
19                 that provide context to the incriminating communications.
             ll
20       llil                 71.    All forensic analysis of the image data will employ only those search
2l                 Rrotocols and methodologies reasonably designed to identifu and seize the items
         ll
22                 identified in Section tr of Attachments B and    B-l   to the warrant.
         ll
,,                           72.     Records and files that could otherwise be obtained by subpoena shall
         ll
Za                remain available, in their entirety, to investigating agents and prosecutors for the duration
         ll
25                ofthe investigation     and prosecution. These include the name and address of the
         ll
26 ll subscriber to or customer ofthe service; local and long distance telephone connection
   il
27 records; records of session times and durations; length of service and types of services
         ll
23 ll utilized; telephone or instrument number or other subscriber number or identity,
                                                                                             UMIED   STATES ATIORNEY
                    AIFIDAVIT OF SA HERGERT                                                   700 STEW^RT SrREEr, SurE
                                                                                                           5220
                    usAo#2o18R01443
                                                                                              SEATTLE, WAs,l{orcroN   9tl0l
                                                                                                    (2M)   5$:7n0
              Case 2:19-cr-00143-JLR Document 68-2 Filed 12/07/19 Page 24 of 35




     I    including any temporarily assigned network address; and means and source of payment,
     2    including any credit card and bank account numbers.
     3           73.    If in the course of their efforts to identiff       and segregate evidence ofthe
  4      items specified in Section II to Attachments B and B-1, law enforcement agents or
  5      analysts discover items outside of the scope of the warrant that are evidence of other

 6       crimes, that data,/evidence will not be used in any way unless it is first presented to a
 7       Magistrate Judge of this District and a new warrant is obtained to seize that data, and/or
 8       to search for other evidence related to   it.   In the event   a   new warrant is authorized, the
 9 govemment may make use of the data then seized in any                     larfirl   maruler.
10                        RXOUEST FOR NON-DISCLOSIIRE AND SEALING
1l               74.    The govemment requests, pursuant to the preclusion of notice provisions                          of
t2 Title       18, United States Code, Section 2705(b), that the Providers be ordered not to                   notify
13       any person (including the subscriber or customer to which the materials relate) of the

t4 existence of this wan'ant for       such period as the Court deems appropriate. The

l5 govemment submits that such an order isjustified because notification of the existence of
16       this Order would seriously jeopardize the ongoing investigation. Such a disclosure would
t7 give the subscriber an opporhmity to destroy evidence, change pattems ofbehavior,
18       noti$ confederates, or flee or continue his flight from prosecution.
1e]             75.    It is further respectfully requested that this Court        issue an order sealing,

20 until fruther order of the Court, all papers submitted in support of this application,
21       including the application and search warrant. This is an ongoing investigation, and the
22       target doed not know the details of what investigators have leamed and what evidence
23       has been gathered. Premature disclosure of the contents of this affidavit and related

24       documents may have a significant and negative impact on the continuing investigation

25       and may severely j eopardize its effectiveness by resulting in the flight of the target, the

26       destruction of evidence, or the intimidation or influencing of witnesses.
27
28
                                                                                          IJNITED STATES ATTORNEY
         AFFIDAVIT OF SA HERGERT                                                           7OO STEWART STFIET, SUIrE
                                                                                                     5220
         usAo#2o18R0t443                                                                  SEATn.E, WAsrelc-roN 98 I0 I
                                                                                                (206\ ss3-7970
             Case 2:19-cr-00143-JLR Document 68-2 Filed 12/07/19 Page 25 of 35




     I                                           CONCLUSION
     )          76.    Based on the forgoing, I request that the Court issue the proposed search

 3       warrant. This Court   has   jurisdiction to issue the requested warrant because it is "a court
 4 of competent jurisdiction" as definedby 18 U.S.C. $ 2711.              1S   U.S.C. gg 2703(a),
 5       (bX1XA) & (c)(l)(a). Specifically, the Court is "a district courr of the United States . . .
 6       that has jurisdiction over the offense being investigated," per 18 U.S.C. g 27l l(3XAXi).

 7 Pusuant to 18 U.S.C.         S    2703(g), the presence of a law enforcement officer is not
 8       required for the service or execution of this warrant. Accordingly, by this Affidavit and

 9       Warrant I seek authority for the govemment to search all of the items specified in Section
10       I, Attachments B and B-1 (attached hereto and incorporated by reference herein) to the
11       Warrant, and specifically to seize all ofthe data, documents and records that are
12       identified in Section II to those same Attachments.
l3
14

l5
                                                      ERIC IIER
16
                                                      Special Agent,
t7                                                    Intemal Revenue Service
18

19             SUBSCRIBED AND SWORN before me this                 Z        day   ofApril, 2019.
20
2t
22
23
24
                                                     BRIANA. TS CHIDA
                                                     Chief United States Magistate Judge
25
26
27
28
                                                                                  TJNIIED STATES ATTORNEY
         AFFIDAVIT OF SA HERGERT                                                   700 SrEwAxT STREET, SurrE
                                                                                             5220
         USAO#2O18R01,143
                                                                                   SEATTLE, WASHDIGToN 98I   O   I
                                                                                         Q06l 553-7970
              Case 2:19-cr-00143-JLR Document 68-2 Filed 12/07/19 Page 26 of 35




     I                                        AITACEMENTA
 2                                       Accounts to be Searched
 3

 4               The electronically stored dat4 information, and communications contained in,
 5       related to, and associated with the following email accounts, which are located at

 6       premises owned, maintained, controlled, or operated by Microsoft Corporation, an email

 7 provider headquartered at       I Microsoft Way, Redmond, Washington 98052:
 8

 9       safirion@outlook. com;
l0 mstest         avestu@outlook.com:
n        mstest_s firye2eauto@outlook. com;

tz mstest v-vokvas@outlook.com; and
l3       mstest_zabeeri 2@outlook. com

t4
t5
16

l7
l8
19

20
2t
22
23

24
25
26
27
28
                                                                             IJNTIED STATES ATTORNEY
         AFFIDAVIT OF SA HERGERT                                              7OO   STEW^RT STREE,T,   SUIE
                                                                                          5220
         USAO#2o I 8R0 I zl43
                                                                             SEA,ITT.E, W^sHNcroN 9&01
                                                                                      (2M) 553-7910
                      Case 2:19-cr-00143-JLR Document 68-2 Filed 12/07/19 Page 27 of 35




     ,                                             ATTACHMENTA-I
     ,llil                                        Account to be Searched
     3       ll         The electronically stored data, information, and communications contained in,

     +       ll."ut"a    to, and associated with the following email accoun! as well as all other email
             il
     5            accounts linked to the identified accounts through the same phone number, altemate
           ll
     0          address, registration IP address, device ID information, or internet cookies, as well
       llema;t
     7      atl other subscriber and log records associated with the accounts, which are located at
       llas
     8              owned maintained, controlled, or operated by Google, Inc., an email provider
       llnremises
     9 f headquartered at 1600 Amphitheatre Parkway, Mounrain View, Califomi a 94043:
         f


 I   0 ll kvashuk.volodmvr@snai I.com.
 t,                     Google, Inc., shall also produce any and all material preserved pursuant to the
   ll
12       ffpreservation request sent on February 1, 2019 (Google reference numb er 2307267).
11 ll

,4ll
,s ll

"ll
r7ll
,8 ll
lr       ll

,ll
,r    ll

,rll
,.,ll
,4ll
,s    ll

,rll
21ll
,'ll
                                                                                     UNIIED STATES ATTOR}.IEY
                  AFFIDAVIT OF SA }MRGERT                                             7OO   STEW RT STREEI, SUIrE
                  usAo#2o I 8R0 I ,143                                                            5220
                                                                                      SEAIII4 WA$0rcroN 9t l0       I
                                                                                              (2c61 553-1970
                Case 2:19-cr-00143-JLR Document 68-2 Filed 12/07/19 Page 28 of 35




     1                                             ATTACIIMENTB
     2      I.    section I - Information to be disclosed by Microsoft corporation, for search:
     3          For the time period from January 1,2016, to the present, to the extent that the
     4   information described in Attachment A is within the possession, custody, or control of
     5 Microsoft Corporation ('Microsoft"), including any e-mails, records, files, logs, or
     6 information that has been deleted but is still available to Microsof! Microsoft is required

     7   to disclose the following information to the govemment for each account or identifier
     8   listed in Attachment A:

     9      a.     The contents of all e-mails associated with the account, including stored or
                   preserved copies of e-mails sent to and from the account, draft e-mails, the source
 10
                   and destination addresses associated with each e-mail, the date and time at which
 1l                each e-mail was sent, and the size and length of each e-mail;

 t2
            b. All    records or other information regarding the identification ofthe account, to
13                include full name, physical address, telephone numbers and other identifiers,
                  records of session times and durations, the date on which the account was created,
t4
                  the length ofservice, the IP address used to register the account, log-in Ip
l5                addresses associated with session times and dates, account stafus, aitemative e-
                  mail addresses provided during registration, forwarding email addresses, methods
16
                  of connecting, log files, and means and source of payment (including any credit or
17                bank account number);
18
            c.    The tSpes of service utilized;
t9
20
           d. All     records pertaining to communications between Microsoft and any person
                  regarding the accounL including contacts with support services and reiords of
21                actions taken.

22
           e      Al1 records or other information stored at any time by an individual using the
23                account, including address books, contact and buddy lists, calendar dat4 pictures,
                  and files;
24
25         f.     All  subscriber records associated with the specified account including lists of all
                  related accounts, any contact lists, and content and,/or preserved dataf
26
27               All records available regarding the location of the user ofthe account, including
                 information obtained from IP addresses, GpS, wifi access points, or cell towers]
28
                                                                                 TJNITED STAIES ATIORNEY
         AFFIDAVIT OF SA TIERGERT                                                  7OO STE] ART STREET, ST,m

         usAo#2018R01443                                                                      5220
                                                                                  SE Inx, WAsnDrc-roN 9810 I
                                                                                        QA6t s53:7n0
             Case 2:19-cr-00143-JLR Document 68-2 Filed 12/07/19 Page 29 of 35




     I
            h. AII records regarding   device-specific information for devices used to access the
     2
                 accounts, including hardware model, operating system, unique device identifiers,
     3           and mobile network information, including phone numbers;

 4
                 Records of any other accounts associated with the account through common
 5
                 cookies, device identifiers, email addresses, or phone numbers;
 6

 7
            j.   Intemet browsing and search history information for the account; and

 8          k.  subscriber information and log records regarding any other email accounts linked
            to the identified accounts through the same phone number, altemate email address,
 9
            registration IP address, device ID information, or intemet cookies.
l0
t1
t2
13

t4
l5
t6
t7
l8
19

20
2l
22
23

24
25

26
27
28
                                                                            UNMD     STATES AfiORNEY
         AFFIDAVIT OF SA HERGERT                                              700 STEw^Rr STREET, Sum
                                                                                        5220
         usAo#2o18R01443
                                                                             SE^rLE, WAsrD{GToN 98 I 0 I
                                                                                   (2M) ss3-1n0
             Case 2:19-cr-00143-JLR Document 68-2 Filed 12/07/19 Page 30 of 35




                         II.   Section   II - Information   to be seized by the government
     2            All information   described above in Section I that constitutes fruits, contraband,

     3   evidence and instrumentalities of violations of Mail Fraud, in violation of Title 18,
 4       United States Code, Section 1341, Wire Fraud, in violation of Title lg, United States
 5       Code, Section 1343, and Money Laundering, in violation of Title 18, United States Code,

 6       Sections 1956(a)(1) and 1957, including, for the accounr or identifier listed on
 7       Attachment A, information pertaining to the following matters:
 8
            a.   Communications or material related to the purchase or attempted online purchase
 9
                 ofany products or services from Microsoft Corporation, including but not limited
10               to purchases of currency stored value, digital currency, gift cards, movies, video or
                 graphics cards, or subscriptions;
ll
12          b.   Communications, or material related to the actual or attempted transfer, resale, or
                 redemption of Microsoft currency stored value, digital currency, gift cards, or
13
                 subscriptions;
t4
t5
            c.   Communications or material related to online resellers;

16          d.   Communications or material related the possible transfer or disposition of the
                 proceeds of the fraud, including but not limited: to accounts at banks or other
t7
                 financial instifutions; financial transactions or transfers; the purchase, transfer or
18               sale of cryptocurrency; the use of the proceeds of the fraud to buy real property,
                 vehicles, or goods or services; and any explanations, reports, or other information
l9               regarding the amount and sources of funds or other income;
20
           e.    Communications or material related to "Grigor Shikor" or,.Grigory Kvashuk',;
21

22         f.    All messages, documents, and profile information, attachments, or other data that
                 serves to identifr any persons who use or access the account specified, or who
23
                 exercise in any way any dominion or control over the specified account;
24
           g. Any      address lists or buddy/contact lists associated with the specified account;
25

26         h. All messages,     documents and profile information, attachments, or other data that
                 otherwise constitutes evidence, fruits, or instrumentalities of violations of Mail
27
                 Fraud, in violation of Title 18, United States Code, Section 1341, Wire Fraud, in
28
                                                                                 UNITED STATES ATTORNEY
         AFFIDAVIT OF SA HERGERT                                                   7OO   STEW^RT STREET, SUrIE
                                                                                               5210
         usAo#2o18R01443
                                                                                  SEfrLE, WA$rNcroN      981   0l
                                                                                        (206) 553-1n0
             Case 2:19-cr-00143-JLR Document 68-2 Filed 12/07/19 Page 31 of 35




     1           violation ofTitle 18, United States Code, Section 1343, and Money Laundering, in
                 violation of Title 18, United States Code, Sections 1956(a)(1) and 1957.
     2

     3           All subscriber associated with the specified account, including name, address,
                 local and long distance telephone corurection records, or records of session times
     4
                 and durations, length ofservice (including start date) and types of service utilized,
     5           telephone or instrument number or other subscriber number or identity, including
                 any temporarily assigned network address, and means and source ofpayment for
     6
                 such service) including any credit card or bank accomt number;
     7
            j.   Any records of communications between the email service provider, and any
     8
                 person about issues relating to the account, such as technical problems, billing
     9           inquiries, or complaints from other users about the specified account. This to
                 include records of contacts between the subscriber and the provider's support
 l0
                 services, as well as records of any actions taken by the provider or subscriber as a
 11              result of the communications.

 l2
 l3
 t4
l5
l6
l7
l8
19

20
2t
22
23

24
25




::
                                                                               UNITED STATES ATTORNEY
         AFFIDAVIT OF SA }IERGERT                                               7OO   STEWAIT STREET,   SUm
                                                                                            5220
         usAo#20r8R01443                                                        SEATILE, WASHRIGTON 98I OI
                                                                                      (206) ss3-1970
    Case 2:19-cr-00143-JLR Document 68-2 Filed 12/07/19 Page 32 of 35




                                      ATTACHMENTB-I
          I.   Section   I - Information to   be disclosed by Google, Inc., for search:
   For the time period from the time period from January        l,   2016, to the present, to the
extent that the information described in Attachment A-1 is within the possession,

custody, or control ofGoogle, Inc. ("Google"), including any e-mails, records, files, Iogs,
or information that has been deleted but is still available to Google, Google is required to
disclose the following information to the government for each account or identifier listed
in Attachment A- I :
   a.   The contents of all e-mails associated with the account, including stored or
        preserved copies of e-mails sent to and from the account, draft e-mails, the source
        and destination addresses associated with each e-mail, the date and time at which
        each e-mail was sent, and the size and length of each e-mail;

   b. All records    or other infcirmation regarding the identification of the account, to
        include full name, physical address, telephone numbers and other identifiers,
        records of session times and durations, the date on which the account was created,
        the length of service, the IP address used to register the account, log-in Ip
        addresses associated with session times and dates, account status, altemative e-
        mail addresses provided during registration, forwarding email addresses, methods
        of connecting, log files, and means and source ofpayment (including any credit or
        bank account number);

   c.   The types of service utilized;

   d. All   records pertaining to communications between Microsoft and any person
        regarding the account, including contacts with support services and records of
        actions taken.

  e. All records    or other information stored at any time by an individual using the
        account, including address books, contact and buddy lists, calendar datq pictures,
        and files;

  f.    All  subscriber records associated with the specified account including lists of all
        related accounts, any contact lists, and content and/or preserved data;

  g. All    records available regarding the location of the user ofthe account, including
        information obtained from IP addresses, GPS, wifi access points, or cell towers;

                                                                           T,NITED STATES ATTORNEY
AT'FIDAVIT OF SA HERGERT                                                     ?M STEWART STRIEI, SUrrE
usAo#2o18R01443                                                                       5?20
                                                                            SE^T]1I, W^sr0{croN 98t   0l
                                                                                  (206)553-?970
    Case 2:19-cr-00143-JLR Document 68-2 Filed 12/07/19 Page 33 of 35




   h. All  records regarding device-specific information for devices used to access the
        accounts, including hardware model, operating system, unique device identifiers,
        and mobile network information, including phone numbers;


   t.   Records of any other accounts associated with the account through common
        cookies, device identifiers, email addresses, or phone numbers;

   j.   Intemet browsing and search history information for the account; and

   k.  subscriber information and log records regarding any other email accounts linked
   to the identified accounts through the same phone number, alternate email address,
   registration IP address, device ID information, or intemet cookies.




                                                                   T,,NITED STATES ATTORNEY
AFFIDAVIT OF SA HERGERT                                              700 STEWART STRTEI, Sum
usAo#2018R0144:l                                                               5220
                                                                    SEATTT-E,   WAsr$rcroN   98 I 0 t
                                                                           (206\ 5s3-7970
             Case 2:19-cr-00143-JLR Document 68-2 Filed 12/07/19 Page 34 of 35




     I                   II.   Section   II - Information   to be seized by the government
     2            All information   described above in section I that constitutes fruits, contraband,
     3   evidence and instrumentalities of violations of Mail Fraud, in violation of        ritle lg,
     4 United States code, section 1341, wire Fraud, in violation of          ritle lg, united states
     5   code, section 1343, and Money Laundering, in violation         of ritle 18, United States code,
     6   Sections 1956(a)(l) and 1957, including, for the account or identifier listed on
     7 Attachment A-1, information pertaining to the following matters:
     8
            a.   communications or material related to the purchase or attempted online purchase
  9
                 of any products or services from Microsoft corporation, including but not limited
 l0              to purchases of currency stored value, digital currency, gift cards, movies, video or
                 graphics cards, or subscriptions;
 tl
t2          b.   communications, or material related to the actual or attempted transfer, resale, or
                 redemption of Microsoft currency stored value, digital currency, gift cards, or
l3
                 Subscriptions;
14

l5
            c.   Communications or material related to online resellers.

l6          d.   commrmications or material related the possible transfer or disposition of the
                 proceeds ofthe fraud, including but not limited: to accounts at banks or other
t7
                 financial instifutions; financial transactions or transfers; the purchase, transfer or
t8               sale of cryptocurrency; the use of the proceeds ofthe fraud to buy real property,
                 vehicles, or goods or services; and any explanations, reports, or other information
19
                 regarding the amount and sources of frurds or other income;
20
           e.    Communications or material related to ..Grigor Shiko/, or ..Grigory Kvashuk,';
2t
22         f.    All messages, documents, and profile information, attachments, or other data that
                 serves to identifu any persons who use or access the account specified, or who
23
                 exercise in any way any dominion or control over the specified account;
24
           g.    Any address lists or buddy/contact lists associated with the specified account;
25
26         h. All messages,     documents and profile information, attachments, or other data that
                 otherwise constitutes evidence, fruits, or instnrmentalities of violations of Mail
27
                 Fraud, in violation of Title 18, United States Code, Section 1341, Wire Fraud, in
28
                                                                                 UNITED STATES ATTORNEY
         AFFIDAVIT OF SA HERGERT                                                  700 STEw^xT STrrET,   Sum
         usAo#2o18R01443                                                                      5220
                                                                                  SEA.ITII, W^srcicTo},l 98101
                                                                                         (206)s53-?90
    Case 2:19-cr-00143-JLR Document 68-2 Filed 12/07/19 Page 35 of 35




        violation of Title I 8, United States Code, Section 1343, and Money Laundering, in
        violation ofTitle 18, United States Code, Sections 1956(a)(l) and 1957.

        All subscriber associated with the specified account, including name, address,
        local and long distance telephone connection records, or records of session times
        and durations, Iength ofservice (including start date) and types of service utilized,
        telephone or instrument number or other subscriber number or identity, including
        any temporarily assigted network address, and means and source ofpayment for
        such service) including any credit card or bank account number;

   j.   Any records of communications between the email service provider, and any
        person about issues relating to the account, such as technical problems, billing
        inquiries, or complaints from other users about the specified account. This to
        include records of contacts between the subscriber and the provider's support
        services, as well as records ofany actions taken by the provider or subscriber as a
        result of the communications.




                                                                      UNTED STATES ATTORNEY
A.FFIDAVIT OF SA HERGERT                                               700 SrEw R STRrEr, SurrE

usAo#2018R01443                                                                  5220
                                                                       SE^TT[!, WAs[0lGroN   98 I 0l
                                                                             Q6r5s3-790
